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                                   6                                    UNITED STATES DISTRICT COURT

                                   7                                   NORTHERN DISTRICT OF CALIFORNIA

                                   8

                                   9        ANNE KIRKPATRICK,                               Case No. 20-cv-05843-JSC
                                                          Plaintiff,
                                  10
                                                                                            PROPOSED VERDICT FORM
                                                 v.
                                  11

                                  12        CITY OF OAKLAND, CALIFORNIA,
Northern District of California
 United States District Court




                                                          Defendant.
                                  13

                                  14

                                  15   We the jury answer the questions submitted to us as follows:

                                  16

                                  17   I. CLAIM 1: WRONGFUL DISCHARGE IN VIOLATION OF CAL. LABOR CODE § 1102.5

                                  18

                                  19           1. Did Ms. Kirkpatrick prove by a preponderance of the evidence that she disclosed

                                  20              information to the City of Oakland relating to Police Commissioner misconduct which

                                  21              she had reasonable cause to believe disclosed a violation of a local rule or regulation?

                                  22

                                  23                  ____ Yes ____ No

                                  24

                                  25                      If you answered yes to question 1, then answer question 2.
                                                          If you answered no to question 1, skip question 2 and go to question 4.
                                  26
                                       //
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                                       //
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                                   1        2. Did Ms. Kirkpatrick prove by a preponderance of the evidence that her disclosure of

                                   2           information (which you found in answer to question 1 she had reasonable cause to

                                   3           believe disclosed a violation of a local rule or regulation) was a “contributing factor” in

                                   4           the City of Oakland’s decision to discharge her?

                                   5

                                   6               ____ Yes ____ No

                                   7
                                                      If you answered yes to question 2, then answer question 3.
                                   8                  If you answered no, skip question 3 and proceed to question 4.
                                   9

                                  10        3. Did the City of Oakland prove by clear and convincing evidence that it would have
                                  11           discharged Ms. Kirkpatrick anyway at that time for legitimate, independent reasons?
                                  12
Northern District of California
 United States District Court




                                  13               ____ Yes ____ No
                                  14

                                  15                  Proceed to question 4.
                                  16

                                  17   II. CLAIM 2: VIOLATION OF FIRST AMENDMENT RIGHTS
                                  18

                                  19        4. Did Ms. Kirkpatrick prove by a preponderance of the evidence that she spoke as a
                                  20           private citizen and not as part of her official duties as a public employee?
                                  21

                                  22               ____ Yes ____ No

                                  23
                                                      If you answered yes to question 4, then answer question 5.
                                  24
                                                      If you answered no to question 4, proceed to Section III.
                                  25

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                                   1          5. Did Ms. Kirkpatrick prove by a preponderance of the evidence that her speech (which

                                   2             you found in answer to question 4 was made as a private citizen) was a substantial or

                                   3             motivating factor in her discharge?

                                   4

                                   5                 ____ Yes ____ No

                                   6
                                                        If you answered yes to question 5, then answer question 6.
                                   7                    If you answered no to question 5, proceed to Section III.
                                   8

                                   9
                                              6. Did the City of Oakland prove by a preponderance of the evidence that it would have
                                  10
                                                 terminated Ms. Kirkpatrick’s employment at the time it did even in the absence of Ms.
                                  11
                                                 Kirkpatrick’s speech (which you found in answer to question 5 was a substantial and
                                  12
                                                 motivating factor in her discharge)?
Northern District of California
 United States District Court




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                                  14
                                                     ____ Yes ____ No
                                  15

                                  16                    Proceed to Section III.

                                  17

                                  18   III.   ACTUAL DAMAGES

                                  19
                                                        If you answered yes to questions 1 and 2 and no to 3, procced to question 7.
                                  20                    If you answered yes to questions 4 and 5 and no to 6, proceed to question 7.
                                                        Otherwise, do not answer question 7 and instead have the presiding juror sign
                                  21
                                                         and date this form on the last page.
                                  22

                                  23          7. What are Ms. Kirkpatrick’s economic and noneconomic damages?

                                  24                 Past Economic loss
                                                            Value of earnings, employment, and employment opportunities lost up to
                                  25
                                                            the present time: $ ___________________
                                  26

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                                   2                Future Economic loss
                                                          Value of earnings, employment, and employment opportunities that with
                                   3
                                                           reasonable probability will be lost in the future: $ ___________________
                                   4

                                   5

                                   6                Noneconomic loss
                                   7                       Pain, suffering, and emotional distress: $_________________
                                   8
                                                    If you answered an amount greater than $0.00 to question 7, answer no further
                                   9
                                                    questions, and have the presiding juror sign and date this form on the last page.
                                  10                If you answer $0.00 or no damages to question 7, proceed to question 8.

                                  11

                                  12   IV.   NOMINAL DAMAGES
Northern District of California
 United States District Court




                                  13

                                  14         8. If you answered yes to questions 1 and 2 and no to question 3, or yes to questions 4 and

                                  15            5 and no to question 6, but answered $0.00 or no damages to question 7, you must

                                  16            award Ms. Kirkpatrick an amount of nominal damages not to exceed $1.00. What

                                  17            amount of nominal damages do you award Ms. Kirkpatrick?

                                  18

                                  19                Nominal Damages: $________________________________

                                  20

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                                   2   Signed: ___________________________ Presiding Juror

                                   3

                                   4   Dated: ____________________________

                                   5

                                   6   After this verdict form has been signed, notify the clerk that you are ready to present your verdict

                                   7   in the courtroom.

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Northern District of California
 United States District Court




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